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 1   MELANIE A. HILL, ESQ.
     Nevada State Bar No. 8796
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     Las Vegas, NV 89148
 4   Tel: (702) 362-8500
     Fax: (702) 362-8505
 5   Melanie@MelanieHillLaw.com
     Attorney for Defendant Michael Sabicer
 6

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 9                               UNITED STATES DISTRICT COURT
10
                                      DISTRICT OF NEVADA
11
                                                 *****
12
     UNITED STATES OF AMERICA,
                                                         Case No: 2:12-cr-00082-MMD-VCF-12
13
                    Plaintiff,
14                                                       DEFENDANT MICHAEL SABICER’S
            v.                                           UNOPPOSED MOTION TO
15                                                       CONDUCT A PRE-PLEA
     MICHAEL SABICER,                                    PRESENTENCE
16                                                       INVESTIGATION REPORT AND
                    Defendant.                           PROPOSED ORDER
17

18
            COMES NOW appointed counsel Melanie A. Hill, Esq. counsel for defendant Michael
19

20   Sabicer, and hereby moves this for an Order directing the Probation Department to prepare a

21   Pre-Plea Presentence Investigation Report on Defendant Michael Sabicer for the following
22
     reasons:
23
            1) It appears that Defendant Sabicer may be subject to substantially different
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25
                 sentencing ranges depending upon his verified criminal history as well as other

26               factors surrounding his offense and plea. Defendant Sabicer's decision regarding
27
                 how to proceed may be drastically impacted by his sentencing exposure in this
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 1        regard. The pre-plea presentence report will promote judicial economy and aid in
 2
          the manner in which this case is ultimately resolved.
 3
       2) Undersigned counsel therefore respectfully requests an order directing the
 4

 5        Department of Probation to conduct a pre-plea presentence investigation report as

 6        soon as possible as there is a time sensitive plea offer on the table.
 7
       3) Undersigned counsel has spoken to the prosecutor, Assistant United States Attorney
 8
          Kimberly Frayn, regarding this request and she has no opposition.
 9
       DATED this 18th day of July, 2012.
10

11
                                                     LAW OFFICE OF MELANIE HILL
12

13
                                                     /s/ Melanie A. Hill
14                                                   Melanie A. Hill, Esq.
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15                                                   Las Vegas, NV 89148
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                                                     Fax: (702) 362-8505
17                                                   Melanie@MelanieHillLaw.com
                                                     Counsel for Defendant Michael Sabicer
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 1                                             CERTIFICATE OF SERVICE
 2            This certifies that the undersigned has served a copy of the foregoing on the following
 3   counsel of record via the ECF system on July 19, 2012:
 4

 5   Brenda Weksler       Nancy_Vasquez@fd.org, brenda_weksler@fd.org

 6   C. Stanley Hunterton      shunterton@huntertonlaw.com

 7   Craig W Drummond         craig@drummondfirm.com, office@drummondfirm.com

     Daniel J. Albregts     albregts@hotmail.com, kjlapointe2@hotmail.com
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     James A Oronoz        jim@oronozlawyers.com, alicia@oronozlawyers.com, luke@oronozlawyers.com
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     Michael J. Miceli      thomaspitaro@yahoo.com
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15   Philip Brown     thelasvegasdefender@gmail.com

16   Terrence M Jackson       Terry.Jackson.Esq@gmail.com

17

18                                                             /s/ Melanie A. Hill
19
                                                               An Employee of Law Office of Melanie Hill

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 2
                                   UNITED STATES DISTRICT COURT

 3                                     DISTRICT OF NEVADA
 4
                                                 *****
 5   UNITED STATES OF AMERICA,
                                                         Case No: 2:12-cr-00082-MMD-VCF-12
 6                  Plaintiff,
                                                         ORDER GRANTING DEFENDANT
 7          v.                                           MICHAEL SABICER’S UNOPPOSED
                                                         MOTION TO CONDUCT A PRE-
 8   MICHAEL SABICER,                                    PLEA PRESENTENCE
                                                         INVESTIGATION REPORT
 9                  Defendant.
10

11
                                              ORDER
12
                 IT IS HEREBY ORDERED that the Probation Department will prepare a Pre-
13

14   Sentence Investigation Report on Defendant Michael Sabicer and make it available to counsel

15   on or before July 27, 2012.
16                         20th
            DATED this ____ day of July, 2012.
17

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                                                 _____________________________________
19
                                                 UNITED STATES DISTRICT JUDGE
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